         Case 1:16-cr-10305-NMG Document 315 Filed 09/18/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )              No. 16-cr-10305-NMG
                                             )
MARTIN GOTTESFELD                            )

         DEFENDANT’S SECOND MOTION FOR EXTENSION OF TIME TO FILE
     POST-VERDICT MOTION FOR JUDGMENT OF ACQUITTAL UNDER FRCP 29(c)(1)
               AND MOTION FOR NEW TRIAL UNDER FRCP 33(b)(2)

        The defendant Martin Gottesfeld (“Mr. Gottesfeld”) moves this Honorable Court for an

extension of the respective periods to file a post-verdict Motion for Judgment of Acquittal under

FRCP 29(c)(1) and a Motion for New Trial Under FRCP 33(b)(2). Mr. Gottesfeld’s first motion

for an extension of time (Dkt. No. 304) was allowed by the Court on August 6, 2018 (Dkt. No.

305), granting leave to file said motions until September 7, 2018.

        This second request is made in light of counsel’s pending Motion for Leave to Withdraw

(Dkt. No. 307) filed on August 31, 2018 and scheduled to be heard by this Court on Friday,

September 21, 2018. Mr. Gottesfeld requests leave for an extension of time so that counsel,

including subsequent counsel should one be appointed, may file such motions should he/she find

it appropriate.

                                                     MARTIN GOTTESFELD
                                                     By his attorney:

                                                     /s/ David J. Grimaldi
                                                     _______________________________
                                                     David J. Grimaldi
                                                     David J. Grimaldi, P.C.
                                                     BBO No. 669343
                                                     675 Massachusetts Avenue, 9th Floor
                                                     Cambridge, MA 02139
                                                     617-661-1529 (tel)
                                                     857-362-7889 (fax)
DATE: September 18, 2018                             david@attorneygrimaldi.com

                                                                                                1
         Case 1:16-cr-10305-NMG Document 315 Filed 09/18/18 Page 2 of 2




                                  CERTIFICATE OF SERVICE

        I, David J. Grimaldi, hereby certify that true copies of this motion were served on all
registered participants in this matter via CM/ECF this 18th day of September, 2018.

                                                      /s/ David J. Grimaldi
                                                      ________________________
                                                      David J. Grimaldi




                                                                                                  2
